        Case 19-42196-mxm7 Doc 17 Filed 07/09/19                                     Entered 07/09/19 14:55:54                  Page 1 of 2


 Fill in this information to identify your case:
 Debtor 1              Nancy              Veronica                Garza
                       First Name         Middle Name             Last Name

 Debtor 2            Alan                 Steven                  Archbold
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number           19-42196-mxm-7
                                                                                                                               Check if this is an
 (if known)
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the            Did you claim the property
                                                                        property that secures a debt?                as exempt on Schedule C?

      Creditor's        Mr. Cooper Mortgage Company                           Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    H/L: 11425 Alpine Ct., Haslet, Texas                  Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        Unity One                                             Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    2018 Toyota Tundra                                    Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        Unity One                                             Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    2018 Toyota Tundra                                    Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:
                                                                              Debtor will continue making payments to creditor without
                                                                              reaffirming.




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                     page 1
       Case 19-42196-mxm7 Doc 17 Filed 07/09/19                                 Entered 07/09/19 14:55:54                    Page 2 of 2

Debtor 1     Nancy Veronica Garza
Debtor 2     Alan Steven Archbold                                                     Case number (if known)     19-42196-mxm-7

    Identify the creditor and the property that is collateral       What do you intend to do with the            Did you claim the property
                                                                    property that secures a debt?                as exempt on Schedule C?
    Creditor's       Unity One                                           Surrender the property.                      No
    name:                                                                Retain the property and redeem it.           Yes
    Description of   2018 Toyota Tundra                                  Retain the property and enter into a
    property                                                             Reaffirmation Agreement.
    securing debt:                                                       Retain the property and [explain]:
                                                                         Debtor will continue making payments to creditor without
                                                                         reaffirming.


 Part 2:         List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                            Will this lease be assumed?

    Lessor's name:        AT&T Mobility                                                                             No
    Description of leased cell phone                                                                                Yes
    property:


    Lessor's name:        Mercedes Benz Financial Services                                                          No
    Description of leased Lease of 2016 Mercedes                                                                    Yes
    property:             totalled on 2-19-19


    Lessor's name:        Netlink Broadband                                                                         No
    Description of leased Satellite service                                                                         Yes
    property:


    Lessor's name:        The Edge Fitness                                                                          No
    Description of leased health club                                                                               Yes
    property:


    Lessor's name:        Verizon                                                                                   No
    Description of leased cell phone service                                                                        Yes
    property:


    Lessor's name:        Viviant Smart Home                                                                        No
    Description of leased monthly service                                                                           Yes
    property:



 Part 3:         Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Nancy Veronica Garza                             X /s/ Alan Steven Archbold
   Nancy Veronica Garza, Debtor 1                          Alan Steven Archbold, Debtor 2

   Date 07/08/2019                                         Date 07/08/2019
        MM / DD / YYYY                                          MM / DD / YYYY




Official Form 108                       Statement of Intention for Individuals Filing Under Chapter 7                                  page 2
